         Case 1:25-cv-00107-N/A                Document 1           Filed 06/12/25           Page 1 of 3


                                                                                                        Form 3-1

              UNITED STATES COURT OF INTERNATIONAL TRADE                                                FORM 3




     NUCOR CORPORATION,

                                Plaintiff,                    Before: Hon. ________
                   v.
                                                              Court No. 25-00107
     UNITED STATES,

                                  Defendant.




 TO:    The Attorney General and the Department of Commerce:

        PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28 U.S.C.
        § 1581(c) to contest the determination described below.

                                                                        /s/ Mario Toscano
                                                                        Clerk of the Court


 1.     Plaintiff is Nucor Corporation. Plaintiff is a domestic producer of corrosion-resistant steel
        products, and thus is an interested party as defined by 19 U.S.C. § 1677(9)(C). Plaintiff
        was also a participant in the administrative review under review. Plaintiff therefore has
        standing to commence this action pursuant to 28 U.S.C. § 2631(c) and 19 U.S.C. §
        1516a(d).
        (Name and standing of plaintiff)

 2.     Plaintiff contests certain aspects of the U.S. Department of Commerce’s final results in the
        2022countervailing duty administrative review of Certain Corrosion-Resistant Steel
        Products From the Republic of Korea, 90 Fed. Reg. 21,002 (Dep’t Commerce May 16,
        2025). This determination is contested pursuant to 19 U.S.C. § 1516a(a)(2)(A)(i)(I) and
        19 U.S.C. § 1516a(a)(2)(B)(iii).
        (Brief description of the contested determination)

3.      May 9, 2025
        (Date of determination)

 4.     May 16, 2025
        (If applicable, date of publication in Federal Register of notice of contested determination)
        Case 1:25-cv-00107-N/A      Document 1      Filed 06/12/25     Page 2 of 3
                                                                                Form 3-2


                                                 Alan H. Price, Esq.
                                                 Christopher B. Weld, Esq.
                                                 Tessa V. Capeloto, Esq.
                                                 Adam M. Teslik, Esq.
                                                 Jacob A. Garten, Esq.

                                               WILEY REIN LLP
                                               2050 M Street, NW
                                               Washington, DC 20036
                                               (202) 719-7000
                                               WileyTrade@wiley.law
/s/Alan H. Price
Signature of Plaintiff's Attorney

June 12, 2025
Date


                                    SEE REVERSE SIDE
Case 1:25-cv-00107-N/A        Document 1        Filed 06/12/25       Page 3 of 3


               SERVICE OF SUMMONS BY THE CLERK



              If this action, described in 28 U.S.C. § 1581(c), is
      commenced to contest a determination listed in section 516A(a)(2)
      or (3) of the Tariff Act of 1930, the action is commenced by filing
      a summons only, and the clerk of the court is required to make
      service of the summons. For that purpose, list below the complete
      name and mailing address of each defendant to be served.

      (As amended July 21, 1986, eff. Oct. 1, 1986; Sept. 30, 2003, eff.
      Jan. 1, 2004; Nov. 28, 2006, eff. Jan 1, 2007; Dec. 7, 2010, eff. Jan 1,
      2011).


     Attorney in Charge
     International Trade Field Office
     U.S. Department of Justice, Civil Division
     Room 346, Third Floor
     26 Federal Plaza
     New York, NY 10278

     Supervising Attorney
     Civil Division – Commercial Litigation Branch
     U.S. Department of Justice
     P.O. Box 480
     Ben Franklin Station
     Washington, DC 20044

     General Counsel
     U.S. Department of Commerce
     14th Street and Constitution Avenue, NW
     Washington, DC 20230
